Case 1:01-cv-12257-PBS Document 6530-13 Filed 09/22/09 Page 1 of 66




             EXHIBIT 12
         Case 1:01-cv-12257-PBS Document 6530-13 Filed 09/22/09 Page 2 of 66
Landsidle, David HIGHLY CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER October 15, 2007
                              London, England, UK

                                                                                Page 1
                 UNITED STATES DISTRICT COURT

                    DISTRICT OF MASSACHUSETTS

     - - - - - - - - - - - - - -)

     In re: PHARMACEUTICAL        ) MDL No. 1456

     INDUSTRY AVERAGE WHOLESALE ) Civil Action No.

     PRICE LITIGATION             ) 01-12257-PBS

     ___________________________)

     THIS DOCUMENT RELATES TO:    ) Judge Patti. B

     United States of America,    ) Saris

     ex re. Ven-a-Care of the     )

     Florida Keys, Inc.,          ) Magistrate Judge

     CIVIL ACTION NO.             ) Marianne B.

     06-11337-PBS                 ) Bowler

     - - - - - - - - - - - - - -)

       HIGHLY CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER

               Oral videotaped deposition of MR DAVID

     LANDSIDLE held at the offices of Jones Day, 21

     Tudor Street, London EC4Y, England, United Kingdom

     at 8.59 a.m. on Monday, October 15, 2007 before

     Miss Leah Willersdorf, Associate of the British

     Institute of Verbatim Reporters

                       (CAPTION CONTINUED)




                           Henderson Legal Services
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            Case 1:01-cv-12257-PBS Document 6530-13 Filed 09/22/09 Page 3 of 66
Landsidle, David HIGHLY CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER October 15, 2007
                                    London, England, UK
                                             Page 78                                                  Page 80
 1       A. No, I have no reason to know that I did      1   did I direct her to have the meeting? I'm sorry.
 2   not get it.                                         2   BY MR LORUSSO:
 3       Q. I would like to walk you through this        3       Q. Well, yes, sir.
 4   letter again, sir. The first paragraph starts,      4       A. Okay. I do not know if I directed her
 5   from Miss Hanrahan:                                 5   to have the meeting or participate in the
 6          "Pursuant to our conversation, I have        6   meeting. I do not know that.
 7   been in contact with the Washington                 7       Q. You said earlier, sir, that Ms Hanrahan
 8   representatives of Bristol-Myers Squibb, Amgen,     8   would, from time to time, and in fact often in
 9   Zeneca and the American Society for Clinical        9   the Abbott Washington office, certain
10   Oncology (ASCO)..."                                10   representatives would meet with other drug
11          Sir, are you familiar with Ms Hanrahan      11   companies. Would such a meeting be set up by
12   being in contact with these companies?             12   yourself?
13          MS TABACCHI: Object to the form.            13           MS TABACCHI: Object to the form.
14          THE WITNESS: No, other than what the        14           THE WITNESS: No, not necessarily. It
15   memo says.                                         15   could have been set up by Amgen or Zeneca or
16   BY MR LORUSSO:                                     16   Bristol-Myers or ASCO. So apparently it could
17       Q. Are you familiar, sir, of anybody in        17   have been set up by any of these parties.
18   your Abbott Washington office being in contact     18   BY MR LORUSSO:
19   with these specific companies around the time of   19       Q. I am sorry, sir. I am certain that I am
20   June of 1994?                                      20   the one who misspoke. What I want to know, sir,
21          MS TABACCHI: Object to the form.            21   is if such a meeting took place between Ms
22          THE WITNESS: No, I am not aware of          22   Hanrahan or anybody from Abbott Washington, would
                                             Page 79                                                  Page 81
 1   that.                                              1    you be a person, sir, that would direct Ms
 2   BY MR LORUSSO:                                     2    Hanrahan to attend such a meeting? Would you be
 3       Q. As you read this, sir, do you have any      3    aware of such a meeting?
 4   reason to believe that Ms Hanrahan was not in      4           MS TABACCHI: Object to the form.
 5   fact in contact with the companies I have listed   5           THE WITNESS: Possibly before or
 6   (BMS, Amgen, Zeneca and ASCO) around June of 6          possibly after. I cannot guarantee that, though.
 7   1994?                                              7    I mean, if it was something that she was working
 8          MS TABACCHI: Object to the form. Lack       8    on, she wouldn't necessarily be telling me every
 9   of foundation.                                     9    day, "Today I'm going to do this and tomorrow I'm
10          THE WITNESS: No because -- I have to       10    going to do that." So I do not know if I would
11   assume that if that is what the memo said, then   11    have been aware of this meeting before it
12   that is what Ms Hanrahan did.                     12    occurred or not.
13   BY MR LORUSSO:                                    13    BY MR LORUSSO:
14       Q. Would that be something that she would     14       Q. Sir, looking at these companies that
15   be directed by you to do, sir?                    15    are listed (Bristol-Myers Squibb, Amgen and
16          MS TABACCHI: Object to the form.           16    Zeneca), sir, do you agree that these companies'
17          THE WITNESS: No, not necessarily           17    drugs were implicated on the survey referred to
18   because Dolly didn't report directly to me.       18    by Mr Booth in the memo we just looked at?
19   Well, let's see, June 8, 1994. I can't -- I don't 19           MS TABACCHI: Object to form. Lack of
20   know if this was something that I would have      20    foundation.
21   directed her to do, if that was your question.    21           THE WITNESS: I do not know.
22   Was the question -- I'm sorry, was the question,  22    BY MR LORUSSO:
                                                                                21 (Pages 78 to 81)
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            Case 1:01-cv-12257-PBS Document 6530-13 Filed 09/22/09 Page 4 of 66
Landsidle, David HIGHLY CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER October 15, 2007
                                     London, England, UK
                                             Page 226                                                 Page 228
 1   on a particular reimbursement issue, would say       1   take a particular decision on Medicare -----
 2   they, "Okay, we want this" and then you just go      2       A. I don't know. I don't know.
 3   and implement that, you know -- or take that         3       Q. Okay. Let's continue on with this
 4   position on the company's behalf?                    4   memorandum. Let's go to the third paragraph. You
 5      A. Well, they wouldn't really say -- they         5   say you:
 6   wouldn't really make the decision. I mean, they      6           "...would like to retain Nancy Taylor
 7   are going to convey to us an opinion of their        7   with the lobby firm of Greenberg Traurig [T-R-A-
 8   divisions as to what would be the preference.        8   U-R-I-G]."
 9      Q. Right.                                         9           You discuss Ms Taylor's background as a
10      A. Again, the Working Group had no power,        10   former policy advisor to Senator Hatch and you
11   had no authority. It was just a kind of an          11   estimate the cost to $10,000 to $20,000. Why is
12   information umbrella group for us to sound ideas    12   it that you wanted to hire Ms Taylor in
13   off.                                                13   particular to work on the Medicare drug
14      Q. Okay. And so I guess the next question        14   reimbursement issue in 1997?
15   is who makes the decision?                          15       A. She had come off Capitol Hill. She had
16      A. Someone -- some other people that I am        16   worked for Senator Hatch who was very
17   not really familiar with, within the divisions or   17   knowledgeable in the health care field and the
18   the corporation.                                    18   Senate side, and knew a lot of the House, members
19      Q. So it could be above your level               19   of the House staff. So she was a good, well-
20   basically, a divisional -----                       20   corrected person.
21      A. Someone else would say that the best          21       Q. Why did you believe that Abbott needed
22   thing for us is X and not Y, and that would be      22   the access to various senators and staffers with
                                             Page 227                                                 Page 229
 1   arrived at by a process that I was not a part of.    1   respect to this Medicare drug reimbursement issue
 2       Q. If the company, at a higher level,            2   in 1997?
 3   makes a decision to take a position on a Medicare    3          MS TABACCHI: Object to the form.
 4   reimbursement policy issue, would that decision      4          THE WITNESS: As I said earlier, largely
 5   be filtered down through Mr Barmak?                  5   because we had such a small office, the sense was
 6       A. It might be. It might be through Mr           6   we probably needed another soldier on Capitol
 7   Barmak. I cannot swear to that though.               7   Hill.
 8       Q. Our -----                                     8   BY MR GOBENA:
 9       A. In our -----                                  9       Q. Did you have serious concerns, in or
10       Q. Go ahead, sorry. Please. I didn't mean       10   around June of 1997, that Congress ultimately
11   to interrupt you.                                   11   might adopt a Bill on Medicare drug reimbursement
12       A. And our job was to supply a political        12   that would have given discretion to the Secretary
13   analysis. Again going back to Mr Thomas's           13   to set reimbursements at below 95% of AWP.
14   situation, Mr Thomas had no interest in changing    14          MS TABACCHI: Object to the form.
15   to acquisition cost, therefore that issue was off   15          THE WITNESS: Because the House had
16   the table. The issue that was on the table was      16   already included language, you have to assume
17   AWP.                                                17   that that was in play. It was a distinct
18       Q. And so the decision might have filtered      18   possibility.
19   through Mr Barmak but you are not 100% sure?        19   BY MR GOBENA:
20       A. I am not, no.                                20       Q. So it was imperative, then, to hire Ms
21       Q. Would it ever have filtered down             21   Taylor in order to put as many resources as
22   through Mr de Lasa, "it" being the decision to      22   possible into blocking that language from being
                                                                              58 (Pages 226 to 229)
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            Case 1:01-cv-12257-PBS Document 6530-13 Filed 09/22/09 Page 5 of 66
Landsidle, David HIGHLY CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER October 15, 2007
                                    London, England, UK
                                            Page 230                                                 Page 232
 1   implemented; correct?                               1       Q. And what about the urologists; do you
 2          MS TABACCHI: Object to the form.             2   recall any communications with any groups
 3          THE WITNESS: It was imperative to hire       3   representing urologists regarding Medicare drug
 4   her to try and get a solution that did not allow    4   reimbursement issues in 1997?
 5   discretion to the Secretary.                        5       A. I don't because as I said earlier on
 6   BY MR GOBENA:                                       6   the oncologists, I can't remember -- I can't
 7      Q. If you go to the fourth paragraph now.        7   remember the name of a person who worked for
 8      A. Yes.                                          8   either of those associations.
 9      Q. You say in the second sentence:               9       Q. But is it fair to say, in reading the
10          "While other groups, including the          10   second sentence, that you believe that the work
11   oncologists and urologists, are also working on    11   of the oncologists and urologists on the Medicare
12   the issue, I believe Abbott could use some         12   drug reimbursement issue, in combination with the
13   additional help."                                  13   Washington office's work, was not sufficient to
14          Was Abbott coordinating with the            14   address Abbott's desire to have the legislation
15   oncologists in terms of working on the Medicare    15   to read "95% of AWP"; isn't that correct?
16   drug reimbursement issues that were taking place   16          MS TABACCHI: Object to the form.
17   in 1997?                                           17          THE WITNESS: The last part of your
18          MS TABACCHI: Object to the form.            18   sentence was?
19          THE WITNESS: Not coordinating, no.          19   BY MR GOBENA:
20   BY MR GOBENA:                                      20       Q. You wanted -- Abbott wanted the law to
21      Q. But Abbott was aware of the positions        21   read that Medicare drug reimbursement would be at
22   that the oncologists were taking with respect to   22   95% of AWP; correct?
                                            Page 231                                                 Page 233
 1   the various proposals on the Hill on drug          1       A. No.
 2   reimbursement by Medicare in 1997; correct?        2           MS TABACCHI: Object to the form.
 3          MS TABACCHI: Object to the form.            3           THE WITNESS: Rather than the
 4          THE WITNESS: One of your earlier            4    discretionary power?
 5   documents was a position paper, I think, from the  5    BY MR GOBENA:
 6   oncologists. So the answer would be yes because    6       Q. Exactly.
 7   there was paper floating around Washington DC on 7         A. Yes.
 8   positions by different associations.               8       Q. Okay. And you felt that although the
 9   BY MR GOBENA:                                      9    fact that the oncologists and urologists were
10      Q. And while I think your testimony            10    working on that issue, you needed additional help
11   earlier was that you don't recall any specific    11    to make sure that the legislation read "95% of
12   communications you had with any oncologists       12    AWP with no discretion to the Secretary";
13   groups; correct?                                  13    correct?
14      A. That is correct.                            14           MS TABACCHI: Object to the form.
15      Q. But it is possible that Ms Sensibaugh,      15           THE WITNESS: We can never make sure of
16   for example, might have been having               16    anything unfortunately, but the idea was that Ms
17   communications with oncologists groups regarding 17     Taylor would be helpful in trying to lead the
18   these Medicare drug reimbursement issues in 1997; 18    decision-making process to a "95% of" rather than
19   correct?                                          19    discretionary powers.
20          MS TABACCHI: Object to the form.           20    BY MR GOBENA:
21          THE WITNESS: Possibly. Possibly.           21       Q. At the bottom of the document, the last
22   BY MR GOBENA:                                     22    paragraph, you talk about -- this is part of your
                                                                             59 (Pages 230 to 233)
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            Case 1:01-cv-12257-PBS Document 6530-13 Filed 09/22/09 Page 6 of 66
Landsidle, David HIGHLY CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER October 15, 2007
                                   London, England, UK
                                           Page 234                                                 Page 236
 1   request, I guess, for a budget from Ms Taylor.     1   that was important to those three either
 2   You mention various people in the last sentence    2   divisions or companies; correct?
 3   who approved on her hiring.                        3          MS TABACCHI: Object to the form.
 4       A. Yes.                                        4          THE WITNESS: Yes.
 5       Q. Can you tell me who Kris Kringel is? K-     5          MR GOBENA: Right. I will have this
 6   R-I-N-G-E-L for the court reporter. Thank you, go  6   marked as Exhibit Landsidle 022 by the court
 7   ahead.                                             7   reporter. I have one copy.
 8       A. Okay, I'm sorry. He was an executive at     8             (Exhibit Landsidle 022 marked for
 9   Abbott. I cannot recall if he was the -- I can't   9   identification)
10   recall his title. He may have been the President  10             (Pause)
11   of the Hospital Products Division.                11      Q. While you are reviewing the document,
12       Q. How about Mr Paul Clark?                   12   Mr Landsidle -- and frankly I am go only going to
13       A. Mr Clark was the Head of, the President    13   ask you about the first, and maybe the second
14   of the Pharmaceutical Division.                   14   page, and possibly the third but that is less
15       Q. That goes by the acronym of PPD;           15   likely. As you are reading it, I am just going to
16   correct?                                          16   read the details into the record.
17       A. PPD. That is PPD, yes.                     17      A. Okay.
18       Q. And also you have -- and I am going to     18      Q. It is a faxed document from Merck's (M-
19   spell this for the court reporter -- Yasu         19   E-R-C-K) Government Relations Department from a
20   Hasegawa. (Y-A-S-U H-A-S-E-G-A-W-A). Who is Mr 20      Nancy Carlton to you, dated June 19, 1997,
21   Hasegawa?                                         21   approximately two weeks after the last memo we
22       A. He worked for TAP.                         22   looked at.
                                           Page 235                                                 Page 237
 1       Q. So you think Mr Kringel might have         1           In the "Re:" line it reads:
 2   worked at HPD; is that correct?                   2           "Payments for Outpatient Prescription
 3       A. I believe he was the Head of HPD.          3    Drugs under Medicare."
 4       Q. So insofar as getting the approval         4           Once you have had a chance to peruse
 5   authority to hire Ms Taylor, you had sought the   5    the first three pages, let me know and we will
 6   approval from the Head of HPD; correct?           6    get started.
 7       A. If that was Mr Kringel's position, the     7               (Pause)
 8   answer is yes.                                    8       Q. Okay?
 9       Q. Okay. And the Head of PPD; correct?        9       A. Yes.
10       A. Which was Mr Clark, yes.                  10       Q. My first question is sort of a general
11       Q. And also the Head of TAP; correct?        11    background one and maybe you will be able to
12       A. Yes.                                      12    answer this by looking and seeing Ms Carlton's
13       Q. I think you testified earlier that from   13    name. The "Merck" at the top there, do you know
14   time to time you would do some lobbying work on 14     whether that is the German Merck or the US
15   TAP's behalf; correct?                           15    company Merck?
16         MS TABACCHI: Object to the form.           16       A. That is the US company Merck.
17         THE WITNESS: On -- yes, on certain         17       Q. Okay. And the fax is, again, dated June
18   issues we would.                                 18    19, 1997 and it is from Nancy Carlton. Do you
19   BY MR GOBENA:                                    19    know who Ms Carlton was?
20       Q. So the issue of getting the statute to    20       A. Yes, I do.
21   set Medicare drug reimbursement at "95% of AWP 21         Q. And who was she?
22   with no discretion to the Secretary" is an issue 22       A. She was a lobbyist in Merck's
                                                                            60 (Pages 234 to 237)
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Case 1:01-cv-12257-PBS Document 6530-13 Filed 09/22/09 Page 7 of 66
Case 1:01-cv-12257-PBS Document 6530-13 Filed 09/22/09 Page 8 of 66
Case 1:01-cv-12257-PBS Document 6530-13 Filed 09/22/09 Page 9 of 66
Case 1:01-cv-12257-PBS Document 6530-13 Filed 09/22/09 Page 10 of 66
Case 1:01-cv-12257-PBS Document 6530-13 Filed 09/22/09 Page 11 of 66
Case 1:01-cv-12257-PBS Document 6530-13 Filed 09/22/09 Page 12 of 66
Case 1:01-cv-12257-PBS Document 6530-13 Filed 09/22/09 Page 13 of 66
Case 1:01-cv-12257-PBS Document 6530-13 Filed 09/22/09 Page 14 of 66
Case 1:01-cv-12257-PBS Document 6530-13 Filed 09/22/09 Page 15 of 66
Case 1:01-cv-12257-PBS Document 6530-13 Filed 09/22/09 Page 16 of 66
Case 1:01-cv-12257-PBS Document 6530-13 Filed 09/22/09 Page 17 of 66
Case 1:01-cv-12257-PBS Document 6530-13 Filed 09/22/09 Page 18 of 66
Case 1:01-cv-12257-PBS Document 6530-13 Filed 09/22/09 Page 19 of 66
Case 1:01-cv-12257-PBS Document 6530-13 Filed 09/22/09 Page 20 of 66
Case 1:01-cv-12257-PBS Document 6530-13 Filed 09/22/09 Page 21 of 66
Case 1:01-cv-12257-PBS Document 6530-13 Filed 09/22/09 Page 22 of 66
Case 1:01-cv-12257-PBS Document 6530-13 Filed 09/22/09 Page 23 of 66
Case 1:01-cv-12257-PBS Document 6530-13 Filed 09/22/09 Page 24 of 66
Case 1:01-cv-12257-PBS Document 6530-13 Filed 09/22/09 Page 25 of 66
Case 1:01-cv-12257-PBS Document 6530-13 Filed 09/22/09 Page 26 of 66
Case 1:01-cv-12257-PBS Document 6530-13 Filed 09/22/09 Page 27 of 66
Case 1:01-cv-12257-PBS Document 6530-13 Filed 09/22/09 Page 28 of 66
Case 1:01-cv-12257-PBS Document 6530-13 Filed 09/22/09 Page 29 of 66
Case 1:01-cv-12257-PBS Document 6530-13 Filed 09/22/09 Page 30 of 66
Case 1:01-cv-12257-PBS Document 6530-13 Filed 09/22/09 Page 31 of 66
Case 1:01-cv-12257-PBS Document 6530-13 Filed 09/22/09 Page 32 of 66
Case 1:01-cv-12257-PBS Document 6530-13 Filed 09/22/09 Page 33 of 66
Case 1:01-cv-12257-PBS Document 6530-13 Filed 09/22/09 Page 34 of 66
Case 1:01-cv-12257-PBS Document 6530-13 Filed 09/22/09 Page 35 of 66
Case 1:01-cv-12257-PBS Document 6530-13 Filed 09/22/09 Page 36 of 66
Case 1:01-cv-12257-PBS Document 6530-13 Filed 09/22/09 Page 37 of 66
Case 1:01-cv-12257-PBS Document 6530-13 Filed 09/22/09 Page 38 of 66
Case 1:01-cv-12257-PBS Document 6530-13 Filed 09/22/09 Page 39 of 66
Case 1:01-cv-12257-PBS Document 6530-13 Filed 09/22/09 Page 40 of 66
Case 1:01-cv-12257-PBS Document 6530-13 Filed 09/22/09 Page 41 of 66
Case 1:01-cv-12257-PBS Document 6530-13 Filed 09/22/09 Page 42 of 66
Case 1:01-cv-12257-PBS Document 6530-13 Filed 09/22/09 Page 43 of 66
Case 1:01-cv-12257-PBS Document 6530-13 Filed 09/22/09 Page 44 of 66
Case 1:01-cv-12257-PBS Document 6530-13 Filed 09/22/09 Page 45 of 66
Case 1:01-cv-12257-PBS Document 6530-13 Filed 09/22/09 Page 46 of 66
Case 1:01-cv-12257-PBS Document 6530-13 Filed 09/22/09 Page 47 of 66
Case 1:01-cv-12257-PBS Document 6530-13 Filed 09/22/09 Page 48 of 66
Case 1:01-cv-12257-PBS Document 6530-13 Filed 09/22/09 Page 49 of 66
Case 1:01-cv-12257-PBS Document 6530-13 Filed 09/22/09 Page 50 of 66
Case 1:01-cv-12257-PBS Document 6530-13 Filed 09/22/09 Page 51 of 66
Case 1:01-cv-12257-PBS Document 6530-13 Filed 09/22/09 Page 52 of 66
Case 1:01-cv-12257-PBS Document 6530-13 Filed 09/22/09 Page 53 of 66
Case 1:01-cv-12257-PBS Document 6530-13 Filed 09/22/09 Page 54 of 66
Case 1:01-cv-12257-PBS Document 6530-13 Filed 09/22/09 Page 55 of 66
Case 1:01-cv-12257-PBS Document 6530-13 Filed 09/22/09 Page 56 of 66
Case 1:01-cv-12257-PBS Document 6530-13 Filed 09/22/09 Page 57 of 66
Case 1:01-cv-12257-PBS Document 6530-13 Filed 09/22/09 Page 58 of 66
Case 1:01-cv-12257-PBS Document 6530-13 Filed 09/22/09 Page 59 of 66
Case 1:01-cv-12257-PBS Document 6530-13 Filed 09/22/09 Page 60 of 66
Case 1:01-cv-12257-PBS Document 6530-13 Filed 09/22/09 Page 61 of 66
Case 1:01-cv-12257-PBS Document 6530-13 Filed 09/22/09 Page 62 of 66
Case 1:01-cv-12257-PBS Document 6530-13 Filed 09/22/09 Page 63 of 66
Case 1:01-cv-12257-PBS Document 6530-13 Filed 09/22/09 Page 64 of 66
Case 1:01-cv-12257-PBS Document 6530-13 Filed 09/22/09 Page 65 of 66
Case 1:01-cv-12257-PBS Document 6530-13 Filed 09/22/09 Page 66 of 66
